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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA,              )
                                       )
     Plaintiff,                        )                Case No. 1:24-CR-0094-BLW
                                       )
v.                                     )                REPORT AND
                                       )                RECOMMENDATION
TANISHA GRAY,                          )
                                       )
     Defendant.                        )
 _____________________________________)

      On February 24, 2025, Defendant appeared before the undersigned United States

Magistrate Judge to enter a change of plea pursuant to a written plea agreement.

Defendant executed a written waiver of the right to have the presiding United States

District Judge take her change of plea. Thereafter, the Court explained to Defendant the

nature of the charges, the maximum penalties applicable, her constitutional rights, the

effect of the Sentencing Guidelines, and that the District Judge would not be bound by

any agreement of the parties as to the penalty to be imposed. Further, the undersigned

ordered a pre-sentence report.

      Having conducted the change of plea hearing and having inquired of Defendant

and her counsel, and counsel for the United States, the Court concludes that there is a

factual basis for Defendant’s plea of guilty, and that it was entered voluntarily and with

full knowledge of the consequences, and that the plea should be accepted. The

undersigned also ordered a pre-sentence investigation to be conducted and a report

prepared by the United States Probation Office.

      Further, having carefully considered the arguments of counsel and the evidence

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presented on the record, the Court finds that:

     ☒ Pursuant to 18 U.S.C. § 3143(a)(1), clear and convincing evidence exists that the

        Defendant is not likely to flee or pose a danger to the safety of any other person or

        the community if released, and accordingly, the Defendant shall remain released

        pending sentencing subject to previously imposed Conditions of Pretrial

        Supervision.



                                  RECOMMENDATION

       NOW THEREFORE IT IS HEREBY RECOMMENDED:

1.     The District Court accept Defendant’s plea of guilty to Count 1 of the Indictment

       (Dkt. 2).

2.     The District Court take under advisement the decision whether to accept the terms

       of the plea agreement pending review of the pre-sentence investigation report.

3.     The District Court order forfeiture consistent with Defendant’s admission to the

       Criminal Forfeiture allegation in the Indictment (Dkt. 2) and detailed in the Plea

       Agreement (Dkt. 22).

4.     The District Court continue Defendant’s release pending sentencing subject to the

       previously imposed Conditions of Pretrial Supervision.



       Written objections to this Report and Recommendation must be filed within

fourteen (14) days pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 72.1(b), or as a

result of failing to do so, that party may waive the right to raise factual and/or legal


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objections to the United States Court of Appeals for the Ninth Circuit.



                                                 DATED: February 24, 2025



                                                 Honorable Raymond E. Patricco
                                                 Chief U.S. Magistrate Judge




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